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 1                              LIST OF EXHIBITS
 2 Exhibit A.    Meadows’s Notice of Removal in the Georgia Case
 3 Exhibit B.    Letter from Mr. Terwilliger to Mr. Klingerman Dated July 22, 2024
 4 Exhibit C.    Print-out of Meadows’s Incoming and Outgoing Messages from
 5               November 3, 2020, to January 20, 2021 (Part 1).
 6 Exhibit D.    Print-out of Meadows’s Incoming and Outgoing Messages from
 7               November 3, 2020, to January 20, 2021 (Part 2).
 8 Exhibit E.    Print-out of Meadows’s Incoming and Outgoing Messages from
 9               November 3, 2020, to January 20, 2021 (Part 3).
10 Exhibit F.    Letter from Meadows’s Counsel Describing Messages Transmitted
11               to the January 6th Committee.
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                EXHIBIT A
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                                         )
THE STATE OF GEORGIA,                    )
                                         )
      v.                                 )       Criminal Case No. _____________
                                         )
MARK R. MEADOWS,                         )
                                         )
             Defendant.                  )
                                         )

                             NOTICE OF REMOVAL

      Defendant Mark R. Meadows, former Chief of Staff to the President of the

United States, removes this proceeding from the Fulton County Superior Court (Case

No. 23SC188947, filed August 14, 2023), insofar as it charges Mr. Meadows in two

counts (Counts 1 and 28) of a 41-count indictment, to the United States District Court

for the Northern District of Georgia under 28 U.S.C. §§ 1442 & 1455.

      Mr. Meadows has the right to remove this matter. The conduct giving rise to

the charges in the indictment all occurred during his tenure and as part of his service

as Chief of Staff. In these circumstances, federal law provides for prompt removal

of a “criminal prosecution . . . commenced in a State court . . . against or directed to”

a federal official, “in an official or individual capacity, for or relating to any act

under color of [his] office.” 28 U.S.C. § 1442(a)(1). The removal statute “protect[s]

the Federal Government from the interference with its operations that would ensue

were a State able, for example, to arrest and bring to trial in a State court for an
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alleged offense against the law of the State, officers and agents of the Federal

Government acting within the scope of their authority.” Watson v. Philip Morris

Companies, Inc., 551 U.S. 142, 150 (2007) (cleaned up). 1   0F




      Nothing Mr. Meadows is alleged in the indictment to have done is criminal

per se: arranging Oval Office meetings, contacting state officials on the President’s

behalf, visiting a state government building, and setting up a phone call for the

President. One would expect a Chief of Staff to the President of the United States to

do these sorts of things. And they have far less to do with the interests of state law

than, for example, murder charges that have been successfully removed. E.g., In Re

Neagle, 135 U.S. 1, 71 (1890); Tennessee v. Davis, 100 U.S. 257, 260–62 (1879).

This is precisely the kind of state interference in a federal official’s duties that the

Supremacy Clause of the U.S. Constitution prohibits, and that the removal statute

shields against. See Neagle, 135 U.S. at 76 (holding that a federal official carrying

out his duties “is not liable to answer in the courts of [a State]”).

      Mr. Meadows intends to file a motion to dismiss the indictment pursuant to

Rule 12(b) of the Federal Rules of Criminal Procedure as soon as is feasible. Mr.



1
 Former officials are protected. The relevant question is whether the defendant was
a federal official at the time of the conduct charged, not at the time of prosecution
or removal. See State of Maryland v. Soper, 270 U.S. 9, 34–35 (1926); Camero v.
Kostos, 253 F. Supp. 331, 335 (D.N.J. 1966). Protection of former federal officials
protects current federal officials from being chilled in the exercise of their federal
duties. See, e.g., Denson v. United States, 574 F.3d 1318, 1349 (11th Cir. 2009).
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Meadows respectfully requests that the Court “order an evidentiary hearing to be

held promptly” and “dispos[e] of the prosecution as justice shall require.” 28 U.S.C.

§ 1455(b)(5). Here, justice requires the prompt dismissal of the charges against Mr.

Meadows. At a minimum, in the meantime, federal law requires granting removal,

which will halt the state-court proceedings against Mr. Meadows, see 28 U.S.C.

§ 1455(b)(5), while the motion to dismiss is resolved.

I.     This Court Has Jurisdiction, and Removal Is Warranted
       This matter—insofar as it relates to charges against Defendant Mark R.

Meadows—arises directly from his service as Chief of Staff. Mr. Meadows served

in that role from March 31, 2020, until January 20, 2021. Before that, he served as a

Member of the U.S. House of Representatives, representing North Carolina’s 11th

Congressional District, from January 3, 2013, to March 30, 2020.

       The events giving rise to the indictment occurred during Mr. Meadows’s

tenure as White House Chief of Staff and are directly related to that role. The

indictment sets forth the following factual allegations (and only the following factual

allegations) as they relate to Mr. Meadows:

     • “On or about the 20th day of November 2020, DONALD JOHN
       TRUMP and MARK RANDALL MEADOWS met with Majority
       Leader of the Michigan Senate Michael Shirkey, Speaker of the
       Michigan House of Representatives Lee Chatfield, and other Michigan
       legislators in the Oval Office at the White House, and DONALD
       JOHN TRUMP made false statements concerning fraud in the
       November 3, 2020, presidential election in Michigan.” Indictment at
       20, Count I, Act 5.

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• “On or about the 21st day of November 2020, MARK RANDALL
  MEADOWS sent a text message to United States Representative Scott
  Perry from Pennsylvania and stated, ‘Can you send me the number for
  the speaker and the leader of PA Legislature. POTUS wants to chat with
  them.’” Indictment at 20, Count I, Act 6.

• “On or about the 25th day of November 2020, . . . DONALD JOHN
  TRUMP, MARK RANDALL MEADOWS, RUDOLPH
  WILLIAM LOUIS GIULIANI, JENNA LYNN ELLIS and
  unindicted co-conspirators Individual 5 and Individual 6, whose
  identities are known to the Grand Jury, met with the group of
  Pennsylvania legislators at the White House and discussed holding a
  special session of the Pennsylvania General Assembly.” Indictment at
  22, Count I, Act 9.

• “On or between the 1st day of December 2020 and the 31st day of
  December 2020, DONALD JOHN TRUMP and MARK RANDALL
  MEADOWS met with John McEntee and requested that McEntee
  prepare a memorandum outlining a strategy for disrupting and delaying
  the joint session of Congress on January 6, 2021, the day prescribed by
  law for counting votes cast by the duly elected and qualified
  presidential electors from Georgia and the other states.” Indictment at
  24, Count I, Act 19.

• “On or about the 22nd day of December 2020, MARK RANDALL
  MEADOWS traveled to the Cobb County Civic Center in Cobb
  County, Georgia, and attempted to observe the signature match audit
  being performed there by law enforcement officers from the Georgia
  Bureau of Investigation and the Office of the Georgia Secretary of
  State, despite the fact that the audit process was not open to the public.
  While present at the center, MARK RANDALL MEADOWS spoke
  to Georgia Deputy Secretary of State Jordan Fuchs, Office of the
  Georgia Secretary of State Chief Investigator Frances Watson, Georgia
  Bureau of Investigation Special Agent in Charge Bahan Rich, and
  others, who prevented MARK RANDALL MEADOWS from
  entering into the space where the audit was being conducted.”
  Indictment at 44, Count I, Act 92.



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• “On or about the 23rd day of December 2020, DONALD JOHN
  TRUMP placed a telephone call to Office of the Georgia Secretary of
  State Chief Investigator Frances Watson that had been previously
  arranged by MARK RANDALL MEADOWS. During the phone call,
  DONALD JOHN TRUMP falsely stated that he had won the
  November 3, 2020, presidential election in Georgia ‘by hundreds of
  thousands of votes’ and stated to Watson that ‘when the right answer
  comes out you’ll be praised.’” Indictment at 44, Count I, Act 93.

• “On or about the 27th day of December 2020, MARK RANDALL
  MEADOWS sent a text message to Office of the Georgia Secretary of
  State Chief Investigator Frances Watson that stated in part, ‘Is there a
  way to speed up Fulton county signature verification in order to have
  results before Jan 6 if the trump campaign assist financially.’”
  Indictment at 45, Count I, Act 96.

• “On or about the 2nd day of January 2021, DONALD JOHN
  TRUMP and MARK RANDALL MEADOWS committed the felony
  offense of SOLICITATION OF VIOLATION OF OATH BY
  PUBLIC OFFICER, in violation of O.C.G.A. §§ 16-4-7 & 16-10-1,
  in Fulton County, Georgia, by unlawfully soliciting, requesting, and
  importuning Georgia Secretary of State Brad Raffensperger, a public
  officer, to engage in conduct constituting the felony offense of
  Violation of Oath by Public Officer, O.C.G.A. § 16-10-1, by unlawfully
  altering, unlawfully adjusting, and otherwise unlawfully influencing
  the certified returns for presidential electors for the November 3, 2020,
  presidential election in Georgia, in willful and intentional violation of
  the terms of the oath of said person as prescribed by law, with intent
  that said person engage in said conduct.” Indictment at 50, Count I, Act
  112.

• “And the Grand Jurors aforesaid, in the name and behalf of the citizens
  of Georgia, do charge and accuse DONALD JOHN TRUMP and
  MARK RANDALL MEADOWS with the offense of
  SOLICITATION OF VIOLATION OF OATH BY PUBLIC
  OFFICER, O.C.G.A. §§ 16-4-7 & 16-10-1, for the said accused,
  individually and as persons concerned in the commission of a crime,
  and together with unindicted co-conspirators, in the County of Fulton
  and State of Georgia, on or about the 2nd day of January 2021,
  unlawfully solicited, requested, and importuned Georgia Secretary of

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      State Brad Raffensperger, a public officer, to engage in conduct
      constituting the felony offense of Violation of Oath by Public Officer,
      O.C.G.A. § l6-10-1, by unlawfully altering, unlawfully adjusting, and
      otherwise unlawfully influencing the certified returns for presidential
      electors for the November 3, 2020, presidential election in Georgia, in
      willful and intentional violation of the terms of the oath of said person
      as prescribed by law, with intent that said person engage in said
      conduct, contrary to the laws of said State, the good order, peace and
      dignity thereof.” Indictment at 87, Count 28.
The charged conduct comprises acts taken by Mr. Meadows, whether in an

individual or official capacity, under color of his role as Chief of Staff to the

President of the United States. See 28 U.S.C. § 1442(a)(1).

      As is apparent on the face of the indictment, as part of his official duties as

Chief of Staff, Mr. Meadows arranged meetings for the President at the White House

and communicated with state lawmakers and officials. Mr. Meadows went to a site

in Fulton County where the Chief Investigator was conducting an audit of the results

of the 2020 Presidential election because—and only because—he was serving as

Chief of Staff. He wanted to report back to the President on how the audit was

proceeding and told him the following day that the Georgia officials were conducting

their work in exemplary fashion. Shortly thereafter, Mr. Meadows, in his role as

Chief of Staff, arranged a phone call between the President and Georgia officials,

including the Secretary of State and the Chief Investigator. These and the other acts

that form the basis for the charges against Mr. Meadows all fall squarely within his

conduct as Chief of Staff.


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      Defendant Meadows has defenses to the charges in this Georgia indictment

that arise under federal law, including a federal immunity defense under the

Supremacy Clause of the Federal Constitution. See U.S. CONST., art. vi, cl. 2; Neagle,

135 U.S. at 57; Kordash v. United States, 51 F.4th 1289, 1293 (11th Cir. 2022);

Denson v. United States, 574 F.3d 1318, 1345–46 (11th Cir. 2009).

      For purposes of removal under 28 U.S.C. § 1442(a)(1), it is enough that the

defendant has a “plausible” federal defense to the charges against him. Caver v.

Cent. Alabama Elec. Coop., 845 F.3d 1135, 1145 (11th Cir. 2017). Here, the charges

against Mr. Meadows far exceed that low threshold. Indeed, as explained below, it

is clear from the face of the indictment that the charges against Mr. Meadows should

be dismissed under the Supremacy Clause. But for purposes of removal, the Court

need not make that determination. Mr. Meadows is entitled to remove this action to

federal court because the charges against him plausibly give rise to a federal defense

based on his role at all relevant times as the White House Chief of Staff to the

President of the United States.

II.   This Notice Satisfies the Procedural Requirements of 28 U.S.C. § 1455

      Consistent with the requirements of 28 U.S.C. § 1455, Mr. Meadows is filing

this notice before trial and no later than 30 days after arraignment, and the grounds

for removal are set forth herein. See id. § 1455(b)(1)–(2). This notice is filed in the

district and division within which is prosecution is pending, it is signed by counsel


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pursuant to Rule 11 of the Civil Rules, and it contains a short and plain statement of

the grounds for removal. See id. § 1455(a). No process, pleadings, or orders have yet

been served upon Mr. Meadows in this action, see id., but this notice also includes

as an attachment the publicly filed indictment, which sets forth the charges against

Mr. Meadows and other defendants. While removal can be initiated later in the

criminal process, the filing of an indictment has “commence[d]” for a “criminal

prosecution in State court,” id., at the time of indictment, triggering the right to

removal. See, e.g., Post v. United States, 161 U.S. 583, 587 (1896) (explaining that

a criminal proceeding commences once “a formal charge is openly made against the

accused, either by indictment presented or information filed in court, or, at the least,

by complaint before a magistrate”).

III.   The Court Should Promptly Hold an Evidentiary Hearing and Either
       Dismiss the Charges Outright, or at a Minimum, Grant Removal and
       Notify the State Court
       The filing of this notice does not automatically stay the state court proceedings

against Mr. Meadows, “except that a judgment of conviction shall not be entered”

while this notice remains pending. Id. § 1455(b)(3). Mr. Meadows respectfully asks

that the Court promptly hold an evidentiary hearing and either dismiss the charges

outright based on the Supremacy Clause, or at a minimum, grant removal and notify

the state court so as to halt any further state-court proceedings against him. See id.

§ 1455(b)(5). Section 1455(b)(5) provides that, if the Court “does not order the


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summary remand of [a removed] prosecution”—which would be wholly unjustified

here—then “it shall order an evidentiary hearing to be held promptly and, after such

hearing, shall make disposition of the prosecution as justice shall require.” Id.

      Mr. Meadows respectfully submits that the most just disposition is for the

charges against him to be promptly dismiss pursuant to the Supremacy Clause. The

basis for that conclusion is apparent from the facts of the case and the face of the

indictment. 2 Even if the Court is not prepared to dismiss outright at this early stage,
           1F




however, justice requires granting removal and halting any further state-court

proceedings against Mr. Meadows. That will allow for the timely consideration of

Mr. Meadows’s defenses, including his federal defense under the Supremacy Clause,

without requiring him to defend himself in state court simultaneously.

      First, the Court should “promptly . . . make disposition of the prosecution as

justice shall require,” 28 U.S.C. § 1455(b)(5), by dismissing all charges against Mr.

Meadows—the Chief of Staff to the President of the United States at the time of the

alleged conduct—under the Supremacy Clause of the U.S. Constitution. The

Supremacy Clause provides that “[t]his Constitution, and the Laws of the United

States which shall be made in Pursuance thereof . . . shall be the supreme Law of the

Land; and the Judges in every State shall be bound thereby, anything in the



2
  Mr. Meadows will submit a separate motion to dismiss at a later date which more
fully sets forth the facts and the law supporting dismissal.
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constitution or laws of any state to the contrary notwithstanding.” U.S. CONST., art.

VI, cl. 2. The Supreme Court has long interpreted the Supremacy Clause to provide

federal officials “immunity from suit” involving state charges in order to “protect[]

federal operations from the chilling effect of state prosecution.” New York v. Tanella,

374 F.3d 141, 147 (2nd Cir. 2004); see generally In Re Neagle, 135 U.S. 1 (1890);

Tennessee v. Davis, 100 U.S. 257 (1879). “[T]he states have no power . . . to retard,

impede, burden, or in any manner control, the operations of the constitutional laws

enacted by congress to carry into execution the powers vested in the general

government.” McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 436 (1819). Thus,

while the police power, including the power to define and punish crimes, is generally

reserved to the States, that power may not be employed against the Federal

Government to “exclude it from the exercise of any authority conferred upon it by

the constitution, obstruct its authorized officers against its will, or withhold from it

for a moment the cognizance of any subject which that instrument has committed to

it.” Neagle, 135 U.S. at 62 (quoting Davis, 100 U.S. at 263). 32F




3
  Since Neagle, the Supreme Court has addressed Supremacy Clause immunity only
rarely. The two most notable decisions came within 20 years of Neagle.
  In Ohio v. Thomas, 173 U.S. 276 (1899), the Court held that Ohio could not
prosecute a federal official for serving margarine in a home for disabled veterans
without placing a sign in the window, as required under Ohio law. The Court held
that Congress had appropriated money to buy the margarine, and that serving it “was
therefore legal, any act of the state to the contrary notwithstanding,” under the
Supremacy Clause. Id. at 283–84.
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      States are thus broadly prohibited from bringing “suits under state law against

federal officials carrying out their executive duties.” Kordash, 51 F.4th at 1293; see

also Denson, 574 F.3d at 1345–46 (“[T]he Supremacy Clause . . . serves to prevent

state law or state law officials from interfering with or otherwise impeding federal

officers as they perform their lawful duties.”). Federal-officer immunity has been

widely recognized and applied robustly, including in cases from the Second, Fifth,

Sixth, Ninth, Tenth, and Eleventh Circuits. 4 3F




      A federal official is entitled to immunity if he “‘was authorized to do [what

he did] by the law of the United States,’” if “‘it was his duty to do [it] as [an officer]

of the United States,’” and if “‘in doing that act he did no more than what was

necessary and proper for him to do.’” Denson, 574 F.3d at 1347 (quoting Neagle,

135 U.S. at 57) (alterations in original). At a general level, the inquiry turns on



  In United States ex rel. Drury v. Lewis, 200 U.S. 1 (1906), the Court affirmed a
denial of immunity for soldiers being prosecuted for murder. There was conflicting
testimony about whether the fatal shots were fired in hot pursuit of a suspected
thief—or instead whether one soldier ordered, and the other soldier carried out, the
execution of a civilian who had already surrendered to their pursuit. See id. at 3–5.
The Court held that pre-trial immunity was unavailable in light of this “conflict of
evidence” because it had been “conceded that if [the soldiers had executed the man
after he surrendered], it could not reasonably be claimed that the fatal shot was fired
in the performance of a duty imposed by the Federal law.” Id. at 8.
4
  See New York v. Tanella, 374 F.3d 141, 144 (2d Cir. 2004); State v. Kleinert, 855
F.3d 305, 313 (5th Cir. 2017); Com. of Ky. v. Long, 837 F.2d 727, 734 (6th Cir.
1988); Clifton v. Cox, 549 F.2d 722, 728 (9th Cir. 1977); Wyoming v. Livingston,
443 F.3d 1211, 1217 (10th Cir. 2006); Baucom v. Martin, 677 F.2d 1346, 1348 (11th
Cir. 1982).
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“whether the officer’s acts have some nexus with furthering federal policy and can

reasonably be characterized as complying with the full range of federal law.” Id. at

1348. While the phrase “no more than necessary” might suggest a narrow scope of

immunity, that is not how the Courts of Appeals have applied it. They unanimously

agree that federal authority under Neagle is a question of the official’s general role

and authority, not specific authorization for the conduct that allegedly constitutes a

criminal act. 5
             4F




       Here, it is unmistakably clear that the indictment charges Mr. Meadows with

alleged state crimes based on acts he took as Chief of Staff to the President of the

United States and in the course of his duties in the position. See generally supra Part

I. He is therefore entitled to immunity from suit under the Supremacy Clause, and in

order to “make disposition of the prosecution as justice shall require,” 28 U.S.C.

§ 1455(b)(5), the Court should dismiss all charges against Mr. Meadows.


5
  See Tanella, 374 F.3d at 147 (“No one disputes that Tanella was acting in his
capacity as a federal DEA Agent when he shot Dewgard.”); Kleinert, 855 F.3d at
317 (“With probable cause of two federal felonies, Kleinert was authorized to arrest
Jackson under 21 U.S.C. § 878.”); Long, 837 F.2d at 745 (“[E]ven though an agent
exceeds his express authority, he does not necessarily act outside of the authority
conferred by the laws of the United States.”); Clifton, 549 F.2d at 728 (“[E]ven
though his acts may have exceeded his express authority, this did not necessarily
strip petitioner of his lawful power to act under the scope of authority given to him
under the laws of the United States.”); Livingston, 443 F.3d at 1227–28 (“The
question is not whether federal law expressly authorizes violation of state law, but
whether the federal official’s conduct was reasonably necessary for the performance
of his duties.”); Baucom, 677 F.2d at 1350 (“In Neagle, it was held that the necessary
authority could be derived from the general scope of the officer’s duties.”).
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      Second, even if the Court is not prepared to rule summarily on Mr. Meadows’s

Supremacy Clause immunity, it should at a minimum promptly accept removal in

order to stay the state-court proceedings against Mr. Meadows. By statute, the Court

is directed “promptly” to consider whether to accept removal, see 28 U.S.C.

§ 1455(b)(5), and whenever the court “determines that removal shall be permitted,

it shall so notify the State court . . . which shall proceed no further,” id. § 1455(c).

Mr. Meadows’s entitlement to removal is clear and does not turn on any disputed

facts. The standard for removal, moreover, is even easier to meet than the standard

for asserting a substantive federal defense. See Caver, 845 F.3d at 1145 (explaining

that removal under § 1442 was proper where the defendant’s federal defense was

“plausible” and then separately analyzing the actual merits of that defense).

      Prompt acceptance is also important to stay the state-court proceedings. The

Supremacy Clause provides “immunity from suit rather than a mere shield against

liability.” Tanella, 374 F.3d at 147. The issue should be “decided early in the

proceedings so as to avoid requiring a federal officer to run the gauntlet of standing

trial and having to wait until later to have the immunity issue decided.” Id. (cleaned

up). Requiring Mr. Meadows to litigate his defenses in parallel in state court would

inflict the very injury that Supremacy Clause immunity protects against—both for

Mr. Meadows’s own sake and for the sake of other federal officials who might be

chilled by the prospect of their own state-court prosecution.


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                           *      *     *     *      *

      The Court should promptly dismiss the charges against Mr. Meadows, or at a

minimum, accept removal so as to stay the state-court proceedings.


Dated: August 15, 2023                      Respectfully submitted,
                                            MARK R. MEADOWS
                                            By Counsel

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